                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR08-0067-LRR
 vs.
                                                                 ORDER
 ROSINA ORLANTHA RHODES,
               Defendant.

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       This matter comes before the court on its own motion under 18 U.S.C. § 3582. In
relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Given the record, the court concludes that it
need not appoint counsel or conduct a hearing with respect to whether relief is warranted
under 18 U.S.C. § 3582(c)(2). See United States v. Harris, 568 F.3d 666, 669 (8th Cir.
2009) (concluding that there is no right to assistance of counsel when pursuing relief under


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18 U.S.C. § 3582(c) and finding that a judge need not hold a hearing on a motion pursuant
to 18 U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s
presence is not required in a proceeding that involves the reduction of a sentence under 18
U.S.C. § 3582(c)).
       Amendment 750 (Parts A and C only) amends USSG §1B1.10. On June 30, 2011,
the Sentencing Commission unanimously voted to apply Amendment 750 (Parts A and C
only) retroactively to cocaine base (“crack”) offenses, and it set November 1, 2011 as the
date that Amendment 750 (Parts A and C only) could be applied retroactively. Part A
amended the Drug Quantity Table in USSG §2D1.1 for crack offenses and made related
revisions to Application Note 10 to USSG §2D1.1. Part C deleted the cross reference in
USSG §2D2.1(b) under which an offender who possessed more than 5 grams of crack was
sentenced under USSG §2D1.1.
       USSG §1B1.10, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 750 (Parts A and C only) within subsection (c). USSG §1B1.10(c).
       Nevertheless, the court is unable to rely on Amendment 750 (Parts A and C only)
to reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. See
generally United States v. Curry, 584 F.3d 1102, 1104 (8th Cir. 2009) (discussing United


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States v. Wyatt, 115 F.3d 606, 608-09 (8th Cir. 1997)) (explaining requirements under
USSG §1B1.10(b)). Based on a total adjusted offense level of 34 and a criminal history
category of I, the court previously determined the defendant’s guideline range to be 48
months imprisonment because the statutorily authorized maximum sentence is less than the
minimum of the applicable guideline range. See USSG §5G1.1(a). The court sentenced
the defendant to 48 months on count 1 of the information. Here, Amendment 750 (Parts
A and C only) does not have the effect of lowering the defendant’s guideline range. The
defendant still faces a guideline range of 48 months. Because the applicable guideline
range is the same as the original guideline range, the defendant is not entitled to a
reduction of her sentence.     See USSG §1B1.10(a)(2)(B) (“A reduction . . . is not
authorized under 18 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c) does
not have the effect of lowering the defendant’s applicable guideline range.”); USSG
§1B1.10, comment. (n.1) (making clear that a reduction is not authorized under 18 U.S.C.
§ 3582(c)(2) if an amendment in subsection (c) is applicable to the defendant but the
amendment does not have the effect of lowering the defendant’s applicable guideline
range); see also United States v. Roa-Medina, 607 F.3d 255, 260-61 (1st Cir. 2010)
(holding that a sentence reduction under 18 U.S.C. § 3582(c)(2) was not available because
the amendment does not have the effect of lowering the defendant’s applicable guideline
range); United States v. Spells, 322 Fed. App’x 171, 173 (3d Cir. 2009) (rejecting the
argument that a decrease in the base offense level gave the district court authority to reduce
a sentence when there was no change in the applicable sentencing range); United States v.
Lindsey, 556 F.3d 238, 242-46 (4th Cir. 2009) (concluding that the defendant could not
rely on 18 U.S.C. § 3582(c)(2) because the amendment does not have the effect of
lowering the applicable guideline range); United States v. Caraballo, 552 F.3d 6, 10-12
(1st Cir. 2008) (holding that a defendant must establish that an amended guideline has the
effect of lowering the sentencing range actually used at his or her sentencing in order to


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engage the gears of 18 U.S.C. § 3582(c)(2)); United States v. McFadden, 523 F.3d 839,
840-41 (8th Cir. 2008) (concluding that, unless the applicable sentencing range changes,
a reduction in the base offense level does not allow for a sentence reduction); United States
v. Gonzalez-Balderas, 105 F.3d 981, 984 (5th Cir. 1997) (finding that, although the
amendment did lower the defendant’s offense level, the district court did not err when it
summarily denied the defendant’s motion under 18 U.S.C. § 3582(c)(2) because the
amended guideline range remained the same).
       Accordingly, the court concludes that a reduction under 18 U.S.C. § 3582(c)(2) and
USSG §1B1.10 is not warranted. The clerk’s office is directed to provide a copy of this
order to the United States, the defendant and the Federal Public Defender.


       IT IS SO ORDERED.
       DATED this 17th day of February, 2012.




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